                  Case 21-10365         Doc 9      Filed 09/09/21 Entered 09/09/21 11:25:02                 Desc Main
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                                              UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois Eastern Division



                In re:                                                                    Case No.: 21-10365
                 Streamline Express, Inc.,                                                 Chapter: 11
                         Debtor(s).




                                                    CERTIFICATE OF SERVICE


                       I, Tinamarie Feil, state as follows:

                       I am over the age of 18 and not a party to the above-captioned case. I certify that on September
              8, 2021 as directed by U.S. Trustee's Office, true and correct copy(s) of the following document(s) were
              served on the party(s) listed on the attached exhibit(s) via the mode(s) of service thereon indicated:



              Notice Meeting of Creditors to be Conducted Telephonically Filed by U.S. Trustee Patrick S Layng.
              (Sukley, Roman) (Entered: 09/08/2021)




              I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
              September 8, 2021




                                                                         Tinamarie Feil
                                                                         BMC Group, Inc.
                                                                         Approved Bankruptcy Notice Provider
                                                                         3732 W 120th Street
                                                                         Hawthorne, CA 90250
                                                                         info@bmcgroup.com
                                                                         888.909.0100




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Exhibit A - Certificate of Service                             Document    Page 2 of 2
Streamline Express, Inc. 21-10365


 List ID      Name and Address of Served Party                                                                      Mode of Service
 481          Alexandra Smirnovas , 6435 S Quincy St., Willowbrook, IL, 60527-5330                                  First Class
 481          Alexandras Smirnovas , 6435 S Quincy St., Willowbrook, IL, 60527-5330                                 First Class
 481          Amex , Correspondence/Bankruptcy, Po Box 981540, El Paso, TX, 79998-1540                              First Class
 481          Bank Of America , 4909 Savarese Circle, Fl1-908-01-50, Tampa, FL, 33634-2413                          First Class
 481          Continental Bank , 15 W S Temple # 300, Salt Lake City, UT, 84101-1542                                First Class
 481          David Freydin , Law Offices of David Freydin Ltd, 8707 Skokie Blvd, Skokie, IL, 60077-2269            First Class
 481          Department of the Treasury , Internal Revenue Service, P.O. Box 7346, Philadelphia, PA, 19101-7346    First Class
 481          Department of Transportation                                                                          None
 481          Department of Treasury , Bureau of the Fiscal Service, PO BOX 830794, Birmingham, AL, 35283-0794      First Class
 481          ENGS COMMERCIAL FINANCE CO, 1 PIERCE PLACE SUITE 1100 WEST, ITASCA, IL, 60143-3149                    First Class
 481          Internal Revenue Service , Mailstop 5014CHI, 230 S Dearborn St Rm. 2600, Chicago, IL, 60604-1705      First Class
 481          Neema T Varghese , NV Consulting Services, 701 Potomac, Ste 100, Naperville, IL, 60565-3422           First Class
 481          Siemens Financial , 170 Wood Avenue, Iselin, NJ, 08830-2726                                           First Class
 481          Siemens Financial Services, Inc.                                                                      None
 481          Streamline Express, Inc. , 6435 S Quincy St., Willowbrook, IL, 60527-5330                             First Class




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